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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

MICHAEL A. GREENE,

                      Plaintiff,
                                                            Case No. 12-13161
v.                                                          Honorable David M. Lawson

22ND DISTRICT COURT, PAMELA
ANDERSON, and MILTON SPOKOJNY,

                  Defendants.
___________________________________/

                 ORDER GRANTING IN PART AND DENYING IN PART
                  DEFENDANT SPOKOJNY’S MOTION TO DISMISS

       The plaintiff filed his complaint in this Court on July 18, 2012. Defendant Spokojny filed

a motion to dismiss the complaint on November 1, 2012. The plaintiff responded on December 3,

2012 and the plaintiff replied on December 10, 2012. The Court reviewed the motion papers and

heard oral argument in open court on January 3, 2013. At the conclusion of oral argument, the Court

announced its decision from the bench and granted in part and denied in part defendant Spokojny’s

motion to dismiss.

       Accordingly, it is ORDERED that defendant Spokojny’s motion to dismiss [dkt. #13] is

GRANTED IN PART AND DENIED IN PART for the reasons stated on the record.

       It is further ORDERED that counts I and III of the plaintiff’s complaint are DISMISSED

with respect to defendant Spokojny only.




       It is further ORDERED that count II of the plaintiff’s complaint is DISMISSED.
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                                                       s/David M. Lawson
                                                       DAVID M. LAWSON
                                                       United States District Judge

Dated: January 3, 2013


                                                 PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing order was served
                         upon each attorney or party of record herein by electronic means or first
                         class U.S. mail on January 3, 2013.

                                                           s/Shawntel Jackson
                                                           SHAWNTEL JACKSON




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